Case 2:21-cv-01861-TLN-JDP Document 56 Filed 04/24/23 Page 1 of 2


 Gavin Mehl
 5960 S. Land Park Dr. #1166                                           FILED
 Sacramento, California ~95822
 Phone: (917) 304-6089                                                      APR 2 4 2023
 Email: mehlgavin@gmail.com
                                                                   . CLJERK, U.S. DISTRICT COURT
                                                                    ~¢ST~RN DISTRY£\r CALIFORNIA
 Ron Cupp
                                                                               DEPUTY CLERK
 150 Raley Town Center Ste 2512
 Rohnert Park, California 94925
 Phone: (707) 318-9929
 Email: ronc2009@gmail.com

 April 22, 2023

 Clerk's Office
 United States District Court Eastern District of California
 501 I Street, Room 4-200
 Sacramento, CA 95814



 RE:                Amended Civil Cover Sheet - Second Amended Complaint
 Case No.:          2:21-cv-01861-TLN-JDP
 Title:             Mehl Cupp vs Peer Street

 Dear Madam Clerk,

 In accordance with Local Rule RULE 200 (Fed. R. Civ. P. 3) which states "Every
 complaint, amended complaint, or other document initiating a civil action shall be
 accompanied by a completed civil cover sheet, on a form available from the Clerk
 and on the Court's website.
 This requirement is solely for administrative purposes, and matters appearing only
 on the civil cover sheet have no cognizable effect in the action."
 Please amend the case caption by the attached Amended Civil Cover sheet which
 relates to the Second Amended Complaint filed on 10/26/2022.

 Please call me with any questions

 Gavin Mehl




                                               -1-
 JS 44 (Rev. 04/21)       Case 2:21-cv-01861-TLN-JDP DocumentSHEET
                                               CIVIL COVER    56 Filed 04/24/23 Page 2 of 2
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                            DEFENDANTS
                                                                                                              PeerStreet; Snell & Wilmer L.L.P.; Andrew B. Still an
           Gavin Mehl; Ron Cupp
                                                                                                              individual; Wilmington et al and Does 1 through 10
     (b)   County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.

     (C)   Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (I/Known)
           5960 S. Land Park Dr. #1166; Sacramento, Ca 95822                                                  Barrett Daffin Frappier LLP and Snell and Wilmer LLP
           150 Raley Town Center# 2512; Rohnert Park, Ca 94925                                               626-915-5714; 714-427-7000
           Phone: (917) 304-6089: (707) 318-9929                                                  GI
 II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES(P/acean "X"inOneBoxforP/aintiff
                                                                                                        (For Diversity Cases Only)                                      and One Box for Defendant)
D1      U.S. Government             003     Federal Question                                                                     PTF          DEF                                         PTF      DEF
           Plaintiff                          (lJ.S. Govemment Not a Party)                       Citizen of This State         D I          D         Incorporated or Principal Place     D 4     D 4
                                                                                                                                                         of Business In This State

D2      U.S. Government             04      Diversity                                             Citizen of Another State          D   2    D    2    Incorporated and Principal Place     D   5    05
           Defendant                          (Indicate Citizenship ofParties in Item III)                                                               of Business In Another State

                                                                                                                                    D   3    D    3   I Foreign Nation
 IV. NATURE OF SUIT                  /ocean "X"inOneBoxOn




~
  110 Insurance                       PERSONAL INJURY                 PERSONAL INJURY                  625 Drug Related Seizure                                             375 False Claims Act
  120 Marine                         310 Airplane                 D 365 Personal Injury -                  of Property 21 USC 881                                           376 Qui Tarn (3 I USC
  130 Miller Act                     315 Airplane Product                Product Liability             690 Other                                                                3729(a))
  140 Negotiable Instrument               Liability               0 367 Health Care/                                                                                        400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &               Pharmaceutical                                                                                      410 Antitrust
      & Enforcement of Judgment           Slander                       Personal Injury                                                     820 Copyrights                  430 Banks and Banking

B 151 Medicare Act
  152 Recovery of Defaulted
      Student Loans
                                     330 Federal Employers'
                                          Liability
                                     340 Marine
                                                                        Product Liability
                                                                  D 368 Asbestos Personal
                                                                        Injury Product
                                                                                                                                            830 Patent
                                                                                                                                            835 Patent - Abbreviated
                                                                                                                                                New Drug Application
                                                                                                                                                                            450 Commerce
                                                                                                                                                                            460 Deportation
                                                                                                                                                                            470 Racketeer Influenced and
      (Excludes Veterans)            345 Marine Product                 Liability                                                           840 Trademark                       Corrupt Organizations
D 153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                                                                                     X 480 Consumer Credit
                                                                                                                                            880 ::i~~!~:de Secrets
      of Veteran's Benefits
D 160 Stockholders' Suits
D 190 Other Contract
                                     350 Motor Vehicle
                                     355 Motor Vehicle
                                         Product Liability
                                                                  B 370 Other Fraud
                                                                    371 Truth in Lending
                                                                  D 380 Other Personal
                                                                                                       710 Fair Labor Standards
                                                                                                            Act
                                                                                                       720 Labor/Management
                                                                                                                                                                                (15 USC 1681 or 1692)
                                                                                                                                                                            485 Telephone Consumer
                                                                                                                                                                                Protection Act

B 195 Contract Product Liability
  196 Franchise
                                     360 Other Personal
                                         Injury
                                     362 Personal Injury -
                                                                        Property Damage
                                                                  D 385 Property Damage
                                                                        Product Liability
                                                                                                            Relations
                                                                                                       740 Railway Labor Act
                                                                                                       751 Family and Medical
                                                                                                                                            861 HIA (1395ft)
                                                                                                                                            862 Black Lung (923)
                                                                                                                                            863 DIWC/DIWW (405(g))
                                                                                                                                                                            490 Cable/Sat TV
                                                                                                                                                                            850 Securities/Commodities/
                                                                                                                                                                                  Exchange
                                         Medical Malpractice                                               Leave Act                        864 ssm Title XVI                890 Other Statutory Actions
                                                                                                       790 Other Labor Litigation           865 RSI (405(g))                 891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights           Habeas Corpus:                   791 Employee Retirement                                               893 Environmental Matters
  220 Foreclosure                    441 Voting                       463 Alien Detainee                   Income Security Act                                               895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                   510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff
  240 Torts to Land                  443 Housing/                         Sentence                                                              or Defendant)
  245 Tort Product Liability             Accommodations               530 General                                                           871 IRS-Third Party
D 290 All Other Real Property        445 Amer. w/Disabilities -       535 Death Penalty                                                          26 use 7609                     Act/Review or Appeal of
                                         Employment                   Other:                           462 Naturalization Application                                            Agency Decision
                                     446 Amer. w/Disabilities -       540 Mandamus & Other             465 Other Immigration                                                 950 Constitutionality of
                                         Other                        550 Civil Rights                     Actions                                                               State Statutes
                                     448 Education                    555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an "X" in One Box Only)
00   I Original        D2 Removed from                 D3        Remanded from               D4   Reinstated or      D   5 Transferred from           D   6 Multidistrict          D 8 Multidistrict
       Proceeding             State Court                        Appellate Court                  Reopened                   Another District               Litigation -                  Litigation -
                                                                                                                             (specify)                      Transfer                      Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not citej11rlsdictlo11al sttlllltes 1111/ess divemty):
VI. CAUSE OF ACTION                   15 U.S.C. § 1692; Civil Code§ 1788 et al and 15 U.S.C § 1681.
                                      Brief description of cause:
                                      This is is an action for violation(s) of the Consumer Protection Laws.
VII. REQUESTED IN                     □ CHECK IF nns IS A CLASS ACTION                                 DEMANDS                                    Cl;IBCK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                   TBD                                        JURYDEMAND:                  00Yes       0No
VIII. RELATED CASE(S)
                                          (See instructions):
      IF ANY                                                      JUDGE          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ DOCKET NUMBER _ _ _ _ _ _ _ _ _ __

DATE                                                                                         TTORNEY OF RECORD
Apr 22, 2023                                                                                 Ron Cupp
FOR OFFICE USE ONLY
     RECEIPT#                   AMOUNT                                    APPL YING IFP                                  JUDGE                                MAG.JUDGE
